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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                         Criminal No. 15-165 (JRT/LIB)

                                 Plaintiff,
                                               MEMORANDUM OPINION AND
v.                                            ORDER ADOPTING REPORT AND
                                                 RECOMMENDATION OF
(2) WILLIAM DAVID ALONZO and                      MAGISTRATE JUDGE
(7) TIMOTHY JOSEPH BEAULIEU, JR.,

                              Defendants.

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      55415, for plaintiff.

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      defendant Alonzo.

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      Beaulieu.


      In May 2015, defendants Timothy Joseph Beaulieu, Jr., and William David

Alonzo were indicated on charges that they violated federal drug and firearm laws.

Defendants move to suppress evidence obtained during a traffic stop and canine sniff

search, as well as statements they made during subsequent custodial interrogations.

Alonzo also moves to sever his case. On December 3, 2015, United States Magistrate

Judge Leo I. Brisbois issued a Report and Recommendation (“R&R”) recommending that

the Court deny Defendants’ motions. Defendants now object in part to the R&R.




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       Based on a de novo review, the Court finds that law enforcement officers had both

probable cause to initiate the traffic stop and a reasonable articulable suspicion, based on

the doctrine of collective knowledge, to justify extending the stop to conduct the canine

sniff search. The Court also finds that the Magistrate Judge’s recommendation that

Alonzo’s motion to sever be denied was not clearly erroneous because Alonzo has failed

to meet his high burden of showing that joinder will impermissibly infringe on his right

to a fair trial. The Court will therefore overrule Defendants’ objections, adopt the R&R

to the extent it is consistent with this Order, and deny Defendants’ motions in their

entirety.


                                    BACKGROUND

       In October 2014, Drug Enforcement Agency (“DEA”) Task Force Officer Thomas

Maloney joined an investigation relating to a recently executed search warrant on the Red

Lake Indian reservation in which federal law enforcement officers seized approximately

1,500 grams of heroin. (Mot. Hr’g Tr. at 64:1-9, Dec. 22, 2015, Docket No. 1,128.)

Pursuant to the investigation, officers obtained authorization to intercept telephone

communications made and received by co-defendant Omar Sharif Beasley. (Id. at 64:13-

25.) Through these intercepts, Maloney learned that Beasley had traveled to Detroit,

Michigan, in an attempt to obtain approximately 500 grams of heroin to bring back to

Minnesota. (Id. at 65:25-66:17.)

       On March 9, 2015, Maloney and other investigating officers intercepted cell tower

information indicating that Beasley was traveling to the Minneapolis area. (Id. at 66:18-

67:1.) A group of approximately ten officers separated to search various areas around


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Minneapolis for Beasley. (Id. at 68:2-13.) Later that day, officers located Beasley and a

group of his associates at the Quality Inn Hotel in Brooklyn Center, Minnesota. (Id. at

69:6-10.)

       At approximately 10 p.m. that evening, Maloney observed the group members exit

the hotel. (Id. at 70:22-71:23.) The group members carried a variety of bags, which they

placed in the cargo areas of three vehicles parked outside – a white BMW, a gold Pontiac,

and a tan Jeep Cherokee with Red Lake Nation license plates. (Id. at 71:1-13.) After

loading the bags, the group members entered the three vehicles, exited the parking lot

together, and headed north on Interstate 94 towards Saint Cloud, Minnesota. (Id. at 73:5-

9.) All three vehicles later turned together onto northbound Minnesota Highway 10. (Id.

at 74:6-8.)

       During prior interviews with informants and co-conspirators, Maloney learned that

Beasley and his associates typically operated in a three-vehicle system with one vehicle

responsible for transporting the drugs, one vehicle responsible for transporting Beasley as

the overseer of the operation, and one vehicle responsible for carrying a firearm to protect

the drugs being transported. (Id. at 75:2-13.) With this in mind, Maloney determined

that the vehicle most likely to be carrying the drugs was the Jeep, because it was a non-

local vehicle that was not associated with any of the investigation’s primary targets, it

stopped for gas, and it was carrying the most bags. (Id. at 75:16-76:6.)

       Maloney contacted Minnesota State Highway Patrol Trooper Michael Flanagan to

set up a “wall” stop of the Jeep. (Id. at 76:7-14.) A “wall” stop is a stop in which law

enforcement officers find an independent basis for stopping an individual so as to not



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reveal or expose the existence of a larger investigation. (See id. at 74:15-20) Maloney

informed Flanagan that the Jeep was involved in a DEA narcotics investigation and was

suspected of carrying illegal narcotics and asked him to assist with a potential stop of the

vehicle. (Id. at 41:8-42:4, 76:7-14.) Flanagan told Maloney that he would travel towards

Saint Cloud, and provided Maloney with the phone number of another highway patrol

trooper, Christopher James, who was closer to the location of the Jeep. (Id. at 76:23-

77:7.) Maloney’s partner, Special Agent Travis Oken, called James, informed him that

the Jeep was suspected of transporting heroin, and instructed James to initiate a traffic

stop if he witnessed any traffic violations. (Id. at 8:25-9:9, 77:2-7.)

       James located the Jeep as he was traveling northbound on Minnesota Highway 10

in Benton County. (Id. at 8:13-24.) While following the Jeep, James observed the

vehicle drift onto the fog line, then onto the center line, and back onto the fog line again.

(Id.) The Jeep eventually drove past an onramp illuminated by streetlights, allowing

James to see two people inside the Jeep, a driver and a right rear passenger. (Id.) James

also observed that the right rear passenger was not wearing a seatbelt – the seatbelt strap

was hanging unsecured. (Id. at 8:20-23, 26:25-28:3.) Based on these observations,

James turned on his emergency lights and initiated a traffic stop on the Jeep. (Id. at 8:20-

24, 11:4-5.)

       The Jeep traveled approximately a quarter of a mile before actually pulling over.

(Id. at 11:4-10.) Once the Jeep stopped, James exited his squad car to approach the

driver’s side.   (Id. at 11:13-18.)    As James approached, he observed that the front




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passenger seat was empty and that both the driver and the rear passenger had freshly-lit

cigarettes. (Id.)

       James first attempted to speak to the driver, whom he identified as Beaulieu. (Id.

at 11:18-20.) Beaulieu told James that the reason why the Jeep touched the center and

fog lines was because he was trying to locate his cigarettes. (Id. at 12:3-6.) He also told

James that the rear passenger, later identified as Alonzo, was sitting in the back because

cold air blew into the car on the front passenger side. (Id. at 28:4-8.) As James

attempted to speak with Beaulieu, however, Alonzo interrupted and tried to talk for

Beaulieu.    (Id. at 11:20-22.)     James learned through Alonzo’s interruptions that

Defendants had met up in the Twin Cities, went shopping at Macy’s, and were heading

back to the Red Lake area. (Id. at 12:12-15.) James found it unusual that Alonzo kept

interrupting Beaulieu to answer James’ questions. (Id. at 12:16-23.) As James walked

back to his squad car to run Defendants’ driver’s licenses, he peered into the back of the

Jeep but did not see any Macy’s shopping bags. (Id. at 15:12-15.)

       Flanagan arrived on scene shortly after James initiated the traffic stop and was

standing by James’s squad car when James returned to run the licenses. (Id. at 13:21-

14:3.) Flanagan had with him a narcotics detection dog named Layka, who is trained to

detect marijuana, cocaine, heroin, methamphetamine, and mushrooms.             (Id. at 36:8-

38:15.) James told Flanagan that during his initial encounter with Beaulieu and Alonzo,

they both had freshly lit cigarettes, Alonzo was sitting in the back seat of the Jeep despite

the unoccupied front passenger seat, Alonzo interrupted Beaulieu to answer James’

questions, and he could not see any Macy’s bags in the back of the Jeep despite Alonzo’s



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statement that the two had previously shopped there. (Id. at 15:7-15, 44:21-45:11.) He

also advised Flanagan that Beaulieu and Alonzo said that they were traveling from the

Minneapolis metro area to the Red Lake Indian Reservation. (Id. at 44:22-25.) Due to

his past experience, Flanagan knew that the Minneapolis metro area is a source location

for illegal narcotics for the Red Lake Indian reservation. (Id. at 45:7-11.) Flanagan also

knew from his earlier contact with DEA Task Force Officer Maloney that the Jeep was

potentially transporting illegal narcotics. (Id. at 41:8-42:4, 76:7-14.) Based on all of this

information, Flanagan told James that he believed that they had reasonable suspicion to

conduct an exterior canine sniff search of the vehicle. (Id. at 45:16-23.) The troopers

decided to ask Beaulieu for consent to search the Jeep, but planned to conduct a sniff

search of the vehicle’s exterior even if he refused. (Id.) James returned to the Jeep and

asked Beaulieu to step out of the vehicle, issued him a written warning, and asked if he

would consent to a search of the Jeep. (Id. at 14:6-20.) Beaulieu did not consent to a

search. (Id.)

       Flanagan then walked over to Alonzo and asked him to step out of the Jeep. (Id. at

47:22-47:5.) While speaking to Alonzo, Flanagan smelled marijuana coming from the

interior of the Jeep. (Id.) Flanagan retrieved Layka from his squad car and walked Layka

around the exterior of the Jeep to conduct a canine sniff search. (Id. at 46:1-14.) Layka

indicated that she detected narcotics inside the Jeep. (Id.) Flanagan then put Layka

inside the Jeep, where she continued to exhibit behaviors indicating that she detected

narcotics. (Id. at 48:12-49:6.)




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      The troopers then searched the Jeep themselves. (Id. at 50:1-23.) They discovered

a white garbage bag in the rear compartment, which contained a 9-millimeter handgun, 9-

millimeter ammunition, a black digital scale, two packages of heroin wrapped in black

electrical tape, and a baggy containing different prescription pills. (Id.) They also

discovered two clear plastic baggies containing marijuana in the passenger compartment.

(Id.) Flanagan took all of these items into his custody and transported them to Maloney

and Oken. (Id. at 50:24-51:9.) The troopers then arrested Beaulieu and Alonzo, and

transported them to the Benton County Jail. (Id. at 16:18-17:1.)

      On March 10, 2015, Maloney and Oken went to the Benton County Jail to

interview Beaulieu and Alonzo. (Id. at 79:2-12.) They interviewed Beaulieu first. (Id. at

80:7-80:8.) Beaulieu cooperated, but Maloney did not believe that his answers were

candid. (Id. at 84:3-6.) They then interviewed Alonzo. (Id. at 86:14-91:14.)          After

initially telling a story that he admitted was untrue, Alonzo eventually told Maloney that

he traveled from Detroit to Minnesota after purchasing pills from various “crack heads”

in Detroit; that he knew there was heroin inside the black electrical taped bundles; and

that he had purchased the gun seized during the traffic stop. (Id.) After the interviews,

Beaulieu and Alonzo were released from the Benton County Jail. (Id. at 92:9-19.)

      On May 20, 2015, Beaulieu and Alonzo were indicted on charges of conspiracy to

distribute heroin, methamphetamine, oxycodone, hydromorphone, hydrocodone, and

methadone; possession with intent to distribute heroin; possession with intent to

distribute hydrocodone, methadone, and oxycodone, and possession of a firearm during

and in relation to a drug trafficking crime. (Indictment, May 20, 2015, Docket No. 1).



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      On May 27, 2015, officers arrested numerous individuals involved in Beasley’s

organization.   (Mot. Hr’g Tr. at 93:3-7.)        Maloney and another task force officer

interviewed Beaulieu a second time. (Id. at 93:9-97:11.) During this interview, Beaulieu

told officers that he became a driver for Beasley in the fall of 2014. (Id. at 95:24-96:2.)

Beaulieu said he believed that the passengers he drove were transporting money. (Id. at

96:6-9.) With regard to the March 9, 2015, traffic stop, Beaulieu stated that he had

traveled with Alonzo from Red Lake to the hotel in Brooklyn Center, Alonzo paid for the

hotel room and for gasoline, and he witnessed Beasley and others at the hotel mixing

approximately 75 to 100 grams of heroin into 200 grams. (Id. at 96:21-97:5.)

      On August 10, 2015, Alonzo filed a number of pretrial motions, including a

Motion for Severance or, in the Alternative, to Join the Co-Defendant’s Motions; a

Motion to Suppress Evidence Found in Vehicle; and a Motion to Suppress Defendant’s

Statements, Admissions, and Answers. (Alonzo’s Pretrial Mots., Aug. 10, 2015, Docket

Nos. 669, 671-72.) Beaulieu also filed a Motion to Suppress Evidence and Statements.

(Beaulieu’s Mot. to Suppress Evid. & Statements, Sept. 30, 2015, Docket No. 855.)

      On December 3, 2015, the Magistrate Judge issued an R&R and order

recommending that the Court deny the suppression and severance motions, and denying

Alonzo’s motion to adopt Beaulieu’s pretrial motions. (Order & R&R at 27, Dec. 3,

2015, Docket No. 1,057.) The Magistrate Judge found that the initial traffic stop was

lawful because James had, at a minimum, an objectively reasonable articulable suspicion

of a criminal activity when he stopped the Jeep based on his observation that Alonzo did

not appear to be wearing a seatbelt. (Id. at 13-15.) The Magistrate Judge also found that



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the extension of the traffic stop was lawful because James’ observations prior to giving

Beaulieu a written warning, taken as a whole, were “independent articulable facts that

created an objectively reasonable suspicion of additional criminal activity sufficient to

prolong the stop very briefly.” (Id. at 15-18.) Because the Magistrate Judge concluded

that the initial traffic stop and the extension of the stop were lawful, the Magistrate Judge

further found that Beaulieu and Alonzo’s subsequent custodial statements should not be

suppressed as fruits of the poisonous tree. (Id. at 19.) Additionally, the Magistrate Judge

concluded that Alonzo could not sever his case at this early stage because he did not meet

his burden of showing prejudice caused by joinder. Finally, the Magistrate Judge found

that Alonzo could not join his co-defendant’s pretrial motions.1 (Id. at 22-26.) Beaulieu

and Alonzo now object to the R&R. (Beaulieu’s Objs. to R&R, Dec. 17, 2015, Docket

No. 1,109; Alonzo’s Objs. to R&R, Dec.17, 2015, Docket No. 1,110.)


                                       ANALYSIS

I.     STANDARD OF REVIEW

       For a dispositive matter such as a motion to suppress evidence, “[t]he district

judge must consider de novo any objection to the magistrate judge’s recommendation.

The district judge may accept, reject, or modify the recommendation, receive further

evidence, or resubmit the matter to the magistrate judge with instructions.” Fed. R. Crim.

P. 59(b)(1), (3); see also 28 U.S.C. § 636(b)(1). For a non-dispositive matter such as a


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        Alonzo has not objected to the Magistrate Judge’s order denying his motion to adopt
Beaulieu’s pretrial motions. Therefore, the Court will not review that order.




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motion to sever, “[t]he district judge must consider timely objections and modify or set

aside any part of the order that is contrary to law or clearly erroneous.” Fed. R. Crim. P.

59(a); see also 28 U.S.C. § 636(b)(1).


II.    BEAULIEU’S OBJECTIONS

       Beaulieu objects to the R&R on three grounds. First, that the Magistrate Judge

erred in determining that James’ testimony justifying the initiation of the traffic stop was

credible. Second, that the Magistrate Judge erred in determining that James and Flanagan

had reasonable articulable suspicion of criminal activity sufficient to extend the traffic

stop in order to conduct a canine sniff search of the Jeep. Third, that statements he made

during custodial interrogations are inadmissible as fruits of the poisonous tree. The Court

will review these objections de novo.


       A.     The Initial Traffic Stop

       Beaulieu first contends that James’ testimony regarding why he initiated the traffic

stop was not credible. It is well settled that “[a]ny traffic violation, however minor,

provides probable cause for a traffic stop.” United States v. Bloomfield, 40 F.3d 910, 915

(8th Cir. 1994). In Minnesota, an observed seatbelt violation gives law enforcement

officers probable cause to stop a vehicle independent of any other moving violations. See

Minn. Stat. § 169.686, subd. 1 (“Seat belt requirement”); State v. Wendorf, 814 N.W.2d

359, 361-62 (Minn. Ct. App. 2012). Here, Beaulieu concedes that a passenger’s failure to

wear a seatbelt constitutes a traffic violation sufficient to justify a traffic stop. The

argument Beaulieu makes instead is that it would have been impossible for James to see



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Alonzo’s supposedly unsecured seatbelt strap, and therefore James’ testimony lacks

credibility.   But the Court is not persuaded.       James testified that he could see the

unsecured strap when the two vehicles passed through an area illuminated by streetlights

from an on-ramp. The Magistrate Judge found this testimony to be credible, and the

Court finds no reason to disagree – Beaulieu’s objection is purely speculative. By

testifying that he could see Alonzo’s seat belt strap hanging unsecured, James articulated

a reasonable basis to suspect that Alonzo was not wearing a seatbelt. Accordingly, James

had probable cause to initiate the traffic stop.


       B.      Extension of the Traffic Stop

       Beaulieu next contends that James and Flanagan illegally extended the scope of

the traffic stop in order to conduct a canine sniff search of the Jeep, and that the

Magistrate Judge’s recommendation to the contrary was erroneous.            On this basis,

Beaulieu argues that all evidence obtained as a result of the search must be suppressed.

       During the course of a lawful traffic stop, “a police officer may conduct an

investigation reasonably related in scope to the circumstances that justified the stop.”

United States v. Anguiano, 795 F.3d 873, 876 (2015). This includes checking the driver’s

license, determining whether the driver has any outstanding warrants, inspecting the

vehicle’s registration, and issuing a citation or warning. Rodriguez v. United States, 135

S. Ct. 1609, 1615 (2015). But a police officer may not prolong the stop “‘beyond the

time reasonably required’ to complete the mission of the initial seizure.” United States v.

Stringer, 739 F.3d 391, 395 (8th Cir. 2014) (quoting Illinois v. Caballes, 543 U.S. 405,

407 (2005)). This rule applies not only to lengthy extensions of a traffic stop, but also to


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de minimis extensions. Rodriguez, 135 S. Ct. at 1615-16. “Continued detention is

constitutional, however, if an officer has reasonable suspicion that criminal activity is

afoot.” Stringer, 739 F.3d at 395.

       In evaluating reasonable suspicion, the Court “consider[s] the totality of the

circumstances to determine, ‘based on commonsense judgments and inferences about

human behavior,’ whether the trooper had ‘at least a minimal level of objective

justification’ for prolonging the seizure.”    Id. (citation omitted) (quoting Illinois v.

Wardlow, 528 U.S. 119, 125 (2000)).           The Court also considers the “collective

knowledge” of the law enforcement officers involved in the stop, provided that there was

at least “some degree of communication” amongst them. United States v. Williams,

429 F.3d 767, 772 (8th Cir. 2005) (citing United States v. Gillette, 245 F.3d 1032, 1034

(8th Cir. 2001)). “The requirement that there be a degree of communication serves to

distinguish between officers functioning as a ‘search team,’ and officers acting as

independent actors who merely happen to be investigating the same subject.” Gillette,

245 F.3d at 1034 (citation omitted) (quoting United States v. O'Connell, 841 F.2d 1408,

1419 (8th Cir. 1988)).

       Here, the Court finds that James and Flanagan did prolong the stop beyond the

time necessary to investigate the seatbelt violation. Once James checked Beaulieu’s

license and registration and issued the written warning, the traffic-related mission of the

seizure was complete, and the traffic violation alone could not support prolonging the

stop for the canine sniff search. The Court nevertheless finds that the extension was

constitutionally proper under the collective knowledge doctrine.        DEA Task Force



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Officer Maloney, who was actively involved in the Beasley investigation, had a

reasonable and articulable suspicion that the Jeep was transporting heroin, based on the

following facts: (1) telephone intercepts suggested that Beasley had traveled to Michigan

in an attempt to procure heroin to bring back to Minnesota; (2) Maloney had reason to

believe that Beasley had succeed in obtaining heroin and was traveling back to Minnesota

because he turned off his cell phone – Maloney knew from prior phone intercepts and

case work that Beasley typically shut off his phone when transporting drugs or money;

(3) Maloney observed the Jeep at a hotel where Beasley and several of his associates

were staying; (4) tips from informants and coconspirator’s involved in Beasley’s

organization indicated that Beasley typically used a three car system to transport drugs, in

which one car carried the drugs, one car carried firearms for protection, and one car

carried Beasley; (5) Maloney observed Beasley and other known associates loading

duffle bags into the Jeep; (6) Maloney observed three vehicles, including the Jeep, leave

the hotel and head north; and (7) Maloney had grounds to believe that the Jeep was the

most likely vehicle to be carrying drugs because it had a non-local license plate, it was

not carrying Beasley or any of the investigation’s other primary targets, it was carrying

the most bags of the three vehicles, and it stopped for gas shortly after departing the

hotel.

         Maloney’s knowledge was subsequently imputed to James and Flanagan – under

the collective knowledge doctrine – when Maloney and his partner told the troopers that

the Jeep was connected to an active DEA investigation and was suspected of transporting

heroin, and requested that the officers conduct a “wall” stop of the Jeep. See Williams,



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429 F.3d at 771-72 (finding that a radio request from one law enforcement officer to

another in which the “only information transmitted was that there might be controlled

substances in the car” was sufficient to trigger the collective knowledge doctrine). At

that point, James and Flanagan became part of the search team and thus had an imputed

reasonable suspicion of narcotics trafficking that was constitutionally sufficient, on its

own, to warrant prolonging the stop.

       In addition to the collective knowledge imputed from Maloney and his partner,

James and Flanagan made their own observations that further bolstered their already

reasonable articulable suspicion of narcotics trafficking. After initiating the stop, James

observed that (1) Beaulieu was slow to pull over; (2) Alonzo was seated in the backseat

even though the front passenger seat was unoccupied; (3) Defendants’ were smoking

freshly lit cigarettes; (4) Alonzo repeatedly interrupted when Beaulieu spoke to James;

(5) James did not see in plain view any bags from Defendant’s alleged shopping trip to

Macy’s; and (6) both passengers were visibly nervous.             Flanagan also knew from

experience that the Jeep was traveling from a common narcotics source area,

Minneapolis, to a common destination area, the Red Lake Reservation.                     These

observations, viewed through the lens of the troopers’ knowledge that the DEA suspected

the Jeep of carrying heroin, provide additional support for the extension of the stop.

       In the R&R, the Magistrate Judge did not address the collective knowledge

doctrine.2   Instead, in finding that James and Flanagan had a reasonable suspicion


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       The Government did raise the issue. In its briefing before the Magistrate Judge, the
Government extensively recited the details of Maloney’s DEA investigation, including all of the
                            (Footnote continued on next page.)


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sufficient to justify the canine sniff search, the Magistrate Judge relied on only four of

James’ post-stop observations: Alonzo was in the backseat, Defendants’ were smoking

freshly lit cigarettes, Alonzo repeatedly interrupted Beaulieu, and James did not see any

Macy’s bags in the Jeep. Beaulieu, in his objection to the R&R, argues that each of these

observations were of wholly innocent behaviors that cannot amount to reasonable

suspicion, even when considered together. The Court, however, need not confront the

question of whether James’ post-stop observations would have been enough, on their

own, to support a finding of reasonable suspicion. As explained above, James and

Flanagan had an imputed reasonable suspicion of narcotics trafficking based on their

radio communications with Maloney and his partner, which alone was enough to justify

the di minimis extension of the stop. And even if it was not enough, James and Flanagan

also had a reasonable suspicion sufficient to justify extending the stop based on the

imputed knowledge from Maloney and his partner combined with their own post-stop

observations.

         Accordingly, because James and Flanagan had a reasonable articulable suspicion

of narcotics trafficking that was sufficient to justify extending the traffic stop in order to

perform a canine sniff search of the Jeep, the Court will overrule Beaulieu’s objection

and adopt the Magistrate Judge’s recommendation to the extent it is consistent with this

Order.
____________________________________
(Footnote continued.)
facts underlying his suspicion that the Jeep was transporting heroin. (Gov’t’s Mem. of Law in
Opp. to Defs.’ Mots. to Suppress Evid. & Statements at 2-5, Nov. 16, 2015, Docket No. 1,020.)
The Government also argued that the collective knowledge of Maloney, James, and Flanagan
justified both the initial stop and the canine sniff search. (Id. at 9-10, 13.)



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        C.     Beaulieu’s Custodial Statements

        Beaulieu’s third objection relates to statements he made during custodial

interrogations. Beaulieu argues that these statements must be suppressed as “fruit of the

poisonous tree” because they were obtained as a result of the unlawful traffic stop and

canine sniff search. United States v. Simpson, 439 F.3d 490, 493-94 (8th Cir. 2006)

(“Under the ‘fruit of the poisonous tree’ doctrine, the exclusionary rule bars the

admission of physical evidence and live witness testimony obtained directly or indirectly

through the exploitation of police illegality.” (quoting Hamilton v. Nix, 809 F.2d 463, 465

(8th Cir. 1987))). But because the Court has already found that both the stop and the

extended search were constitutionally proper, Beaulieu’s fruit of the poisonous tree

argument necessarily fails. The Court will therefore overrule this objection.


III.    ALONZO’S OBJECTIONS

        Alonzo objects to the R&R on three grounds. First, he argues that the Magistrate

Judge erred in recommending that the Court deny his motion for severance. Second, he

argues that the Magistrate Judge erred in recommending denial of his motion to suppress

evidence found in the Jeep. Third, he argues that statements he made during a custodial

interrogation are inadmissible as fruit of the poisonous tree. The Court will review

Alonzo’s motion for severance objection under a clearly erroneous standard of review

and his other objections de novo. Fed. R. Crim. P. 59(a), (b)(1), (3); see also 28 U.S.C.

§ 636(b)(1).




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       A.     Motion for Severance

       Alonzo first contends that the Magistrate Judge erred in recommending that his

motion for severance be denied. When a defendant moves for severance, the Court must

initially determine whether joinder was proper. United States v. Darden, 70 F.3d 1507,

1526 (8th Cir. 1995). Even when joinder is proper, however, a judge may still “order

separate trials of counts, sever the defendants’ trials, or provide any other relief that

justice requires” if joinder “appears to prejudice” the defendant. Fed. R. Crim. P. 14(a).

But, “the defendant seeking severance has the heavy burden of demonstrating that a joint

trial will impermissibly infringe his right to a fair trial.” United States v. Warfield,

97 F.3d 1014, 1019 (8th Cir. 1996).       “[O]nly in an unusual case will the prejudice

resulting from a joint trial be substantial enough to outweigh the general efficiency of

joinder.” United States v. Clay, 579 F.3d 919, 927 (8th Cir. 2009) (citing United States v.

Al-Esawi, 560 F.3d 888, 891 (8th Cir. 2009)).

       Here, Alonzo does not appear to argue that joinder was improper. Instead, he

argues that a joint trial will prejudice his right to a fair trial. In the R&R, the Magistrate

Judge found that Alonzo failed to meet his high burden of establishing prejudice because

he raised only conclusory and speculative arguments that the “the majority of the

evidence” does not involve him and “[t]here is a conflict of interest between co-

defendants.” The Magistrate Judge accordingly recommended that the Court deny the

motion without prejudice.

       In his objection to the R&R, Alonzo repeats the same arguments that he made to

the Magistrate Judge, without providing any additional details and without citing any



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pertinent case law. On this bare record, the Court cannot find that the Magistrate Judge’s

recommendation was clearly erroneous.              Simply put, Alonzo’s conclusory and

speculative arguments are insufficient to show prejudice at this early stage of the case. If

at a later time Alonzo can articulate specific and concrete reasons for why severance is

necessary, the Court will entertain a new motion to sever. United States v. Billups,

442 F. Supp. 2d 697, 706 (D. Minn. 2006) (“Severance is a remedy that can be provided

at the time of trial if appropriate under the circumstances.”). But for now, the motion is

premature. The Court will therefore overrule Alonzo’s objection, adopt the Magistrate

Judge’s recommendation, and deny the motion to sever without prejudice.


       B.     Evidence Found in the Jeep

       In his second objection, Alonzo argues that evidence from the Jeep must be

suppressed because the traffic stop and canine sniff search were constitutionally

improper.     Alonzo raises substantially the same arguments as Beaulieu, but these

arguments fail for the same reasons set forth above – neither the stop nor sniff search

violated Alonzo’s Fourth Amendment rights. The Court will therefore overrule this

objection.


       C.     Alonzo’s Custodial Statements

       Alonzo’s third objection relates to statements he made during a custodial

interrogation. Alonzo again raises substantially the same argument as Beaulieu: his

statements must be suppressed as fruit of the poisonous tree because they were obtained

as a result of the unlawful traffic stop and canine sniff search. But once more, because



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the Court has already found that the traffic stop and sniff search were constitutionally

proper, the Court will overrule this objection.


                                         ORDER

       Based on the foregoing, all the files, records, and proceedings herein, the Court

OVERRULES Defendant Beaulieu’s objections [Docket No. 1,109]; OVERRULES

Defendant Alonzo’s objections [Docket No. 1,110] and ADOPTS the Report and

Recommendation of the Magistrate Judge [Docket No. 1,057], but only to the extent it is

consistent with this Order. IT IS HEREBY ORDERED that:

       1.     Defendant Beaulieu’s Motion to Suppress Evidence and Statements

[Docket No. 855] is DENIED.

       2.     Defendant Alonzo’s Motion for Severance or, in the Alternative, to Join the

Co-Defendant’s Motions [Docket No. 669] is DENIED without prejudice.

       3.     Defendant Alonzo’s Motion to Suppress Evidence Found in the Vehicle

[Docket No. 671] is DENIED.

       4.     Defendant Alonzo’s Motion to Suppress Defendant’s Statements,

Admissions, and Answers [Docket No. 672] is DENIED.


DATED: April 15, 2016                              ____s/                     ____
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                             Chief Judge
                                                      United States District Court




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